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                    IN THE DISTRICT COURT OF THE UNITED STATES
                        FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

Jay Connor,                            )                  Civil Case No. 2:23-cv-01452-JD-MGB
                                       )
                    Plaintiff,         )
       v.                              )
                                       )
                                       )                        ORDER
First Choice Media, LLC; Joe McLendon, )
                                       )
                    Defendants.        )
___________________________________ )

        This action has been filed by Plaintiff, pro se, alleging claims under the Telephone

Consumer Protection Act. On April 19, 2023, summonses were issued for Defendants First Choice

Media, LLC and Joe McLendon. 1 The record contains affidavits from a process server, averring
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that: (1) Defendant Joe McLendon was served personally on September 13, 2023 (Dkt. No. 19-1

at 2); and (2) Defendant First Choice Media LLC was served through personal service of its

registered agent, Joe McLendon, on September 24, 2023 (Dkt. No. 22.) Based on these dates of

service, Defendants’ answers are now past due. See Fed. R. Civ. P. 12(a)(1)(A)(i). The record does

not include any indication that the parties have agreed to an extension of Defendants’ response

deadline.

        Based on the foregoing, it appears an entry of default may be appropriate. Federal Rule of

Civil Procedure 55(a) provides that entry of default is proper “[w]hen a party against whom a

judgment for affirmative relief is sought has failed to plead or otherwise defend, and that failure is

shown by affidavit or otherwise[.]” Fed. R. Civ. P. 55(a). “[A] party seeking the entry of default

must provide proof that the party against whom an entry of default is sought was properly served.”



1
 Although summonses were also issued for other defendants, those defendants have been voluntarily dismissed by
Plaintiff. (Dkt. No. 11.)

                                                      1
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Holmes v. Carroll, No. 0:17-cv-1257-HMH-PJG, 2018 WL 1175035, at *1 (D.S.C. Feb. 5, 2018),

adopted by, 2018 WL 1091184 (D.S.C. Feb. 28, 2018), and adopted by, 2018 WL 1157189 (D.S.C.

Mar. 5, 2018) (citing Smith v. Blithfield Dev., Inc., 2013 WL 12212546, at *1 (N.D. Ga. Feb. 8,

2013); Carrington v. Easly, No. 5:08-CT-3175-FL, 2010 WL 2772405, at *1 (E.D.N.C. July 12,

2010)); see also 10A Charles Alan Wright & Arthur R. Miller, Federal Practice & Procedure §

2682 (4th ed. 2018) (“Before a default can be entered, the court must have subject-matter

jurisdiction and jurisdiction over the party against whom the judgment is sought, which also means

that the party must have been effectively served with process.”).

       Plaintiff is responsible for moving for entry of default. In light of the foregoing, Plaintiff

is directed to advise the Court of his intention with regard to any claims against Defendants Joe

McLendon and First Choice Media LLC, by November 6, 2023. If Plaintiff wishes to pursue an

entry of default against Defendant First Choice Media LLC, he should provide evidence that Joe

McLendon is an agent authorized by appointment or by law to receive service of process on behalf

of Defendant First Choice Media LLC. Or, if Plaintiff has allowed Defendants an extension of

time to answer the pleadings, Plaintiff must file a status report acknowledging that extension. See

Local Civil Rule 12.01, D.S.C.




October 25, 2023
Charleston, South Carolina




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